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UNITED STATES DISTRICT COURT SOUTHERN DISTRICT OF TEXAS

 

Motion and Order for Admission Pro Hac lI/ice

 

 

 

 

 

Division HOuStOl'l Case Number 41 19-CV-01035
Monica Abboud, et al.

 

 

V€}'SZIS

 

Health Insurance Innovations, Inc.

 

 

 

 

 

 

 

L 6 , N Taylor T. Smith
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Telephone & Email State: Colorado - No. 51162
Licensed: State & Number Federal: U.S. District Court for the District of Colorado
Federal Bar & Number

Name of party applicant Seeks to Plamtlff Momca Abb°ud
appear for:
Has applicant been sanctioned by any bar association or court? Yes ___ No L

On a separate Sheet for each sanction, please supply the full particulars

 

 

Dated: 3/25/2019 Signed: /s/ Taylor T. Smith

 

 

 

The State bar reports that the applicant’s status is:

 

Dated: Clerk’s signature

 

 

 

 

Urder

 

 

'll`his lawyer is admitted pro hac vice.

 

Dated:

 

 

United States District Judge

